            Case 24-04510-5-JNC                   Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                  Page 1 of 35


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Little Mint, Inc.

2.   All other names debtor       DBA Hwy 55 Burgers Shakes & Fries
     used in the last 8 years     FDBA Moon Unit, Inc. (merged- XX-XXXXXXX)
                                  FDBA Moonunit, Inc.
     Include any assumed
     names, trade names and       FDBA Dylan James Management, Inc. (merged- XX-XXXXXXX)
     doing business as names      FDBA A. and E. Vends, Inc. (merged- XX-XXXXXXX)
                                  FDBA Little Mint, Inc.
                                  DBA Andy's

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  102 Commercial Avenue
                                  Mount Olive, NC 28365
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wayne                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       hwy55.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
            Case 24-04510-5-JNC                     Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                       Page 2 of 35
Debtor    The Little Mint, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
            Case 24-04510-5-JNC                          Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                      Page 3 of 35
Debtor    The Little Mint, Inc.                                                                           Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 24-04510-5-JNC                    Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                     Page 4 of 35
Debtor    The Little Mint, Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      December 31, 2024
                                                   MM / DD / YYYY


                             X /s/ Kenneth K. Moore                                                        Kenneth K. Moore
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   President




18. Signature of attorney    X /s/ Rebecca F. Redwine                                                       Date December 31, 2024
                                  Signature of attorney for debtor                                               MM / DD / YYYY

                                  Rebecca F. Redwine
                                  Printed name

                                  Hendren, Redwine & Malone, PLLC
                                  Firm name

                                  4600 Marriott Drive
                                  Suite 150
                                  Raleigh, NC 27612
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (919) 420-7867                Email address      rredwine@hendrenmalone.com

                                  NC State Bar 37012 NC
                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
       Case 24-04510-5-JNC                     Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                 Page 5 of 35




Fill in this information to identify the case:

Debtor name         The Little Mint, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 31, 2024               X /s/ Kenneth K. Moore
                                                           Signature of individual signing on behalf of debtor

                                                            Kenneth K. Moore
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
              Case 24-04510-5-JNC                Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                               Page 6 of 35


 Fill in this information to identify the case:
 Debtor name The Little Mint, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                           Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 1586 Glendewar,                                     Business debt                                                                                               $66,591.00
 LLC
 Attn: Managing
 Agent
 2850 Erie Street
 San Diego, CA
 92117
 Bear Robotics                                       Business debt                                                                                             $109,844.93
 Attn: Managing
 Agent
 16650 Westgrove Dr,
 Ste 175
 Addison, TX 75001
 Clark National                                      Business debt                                                                                             $306,263.23
 Accounts
 Attn: Managing
 Agent
 2205 Old
 Philadelphia Pike
 Lancaster, PA 17602
 Con-iley, Inc.                                      Business debt                                                                                             $252,678.00
 Attn: Managing
 Agent
 3309 Berkshire
 Drive
 Wilson, NC 27896
 Dale Byrd                                           Business debt                                                                                               $50,469.96
 9920 East Shore
 Drive
 Willis, TX 77318
 Double Dimension                                    Business debt                                                                                             $143,657.50
 Attn: Managing
 Agent
 2324 Pandy St SW
 Huntsville, AL 35801




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
              Case 24-04510-5-JNC                Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                               Page 7 of 35



 Debtor    The Little Mint, Inc.                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Empire Unlimited                                    Business debt                                                                                               $77,723.90
 Attn: Managing
 Agent
 10149 Channel
 Road, Ste H
 Lakeside, CA 92040
 Forvis                                              Business debt                                                                                               $56,575.50
 Attn: Managing
 Agent
 P.O. Box 602828
 Charlotte, NC 28260
 Hwy 55 of                                           Arbitration award                                                                                           $57,988.76
 Tennessee, Inc.
 Attn: Managing
 Agent
 243 Nelson Road
 Lawrenceburg, TN
 38464
 Karen C. Calcagno                                   Business debt                                                                                               $71,905.28
 P.O. Box 62
 Soquel, CA 95072
 Larry L. Huneycutt                                  Business debt                                                                                               $65,362.50
 425 East Arrowhead
 Drive
 Charlotte, NC 28213
 Lisa Lutz TTE, IRR                                  Business debt                                                                                               $67,725.00
 Trust
 Attn: Managing
 Agent
 141 Via Copla
 Alamo, CA 94507
 NC Department of                                    Sales Tax                                                                                                 $600,000.00
 Revenue
 Attn: Bankruptcy
 Unit
 P.O. Box 1168
 Raleigh, NC
 27602-1168
 Net Lease Assoc.-                                   Past due rent                                                                                               $49,701.79
 Live Oak, LLC
 Attn: Managing
 Agent
 105 Tallapossa
 Street, Ste 307
 Montgomery, AL
 36104




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
              Case 24-04510-5-JNC                Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                               Page 8 of 35



 Debtor    The Little Mint, Inc.                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Presovian 8, LLC                                    Business debt                                                                                               $62,475.00
 Attn: Managing
 Agent
 5060 Bellaire
 Avenue
 Valley Village, CA
 91607
 Retail Data Systems                                 Business debt-                                                                                              $70,000.00
 Attn: Managing                                      maintenance
 Agent
 4616 South Main
 Street
 Acworth, GA 30101
 Retail Data Systems                                 Business debt                                                                                             $594,682.52
 Attn: Managing
 Agent
 4616 South Main
 Street
 Acworth, GA 30101
 Sysco Food                                          Business debt                                                                                             $782,507.00
 Attn: Managing
 Agent
 1032 Baugh Road
 Selma, NC 27576
 Two Plus, Inc.                                      Business debt                                                                                             $257,728.70
 Attn: Managing
 Agent
 5717 US Hwy 117
 Alt.
 Mount Olive, NC
 28365
 Ward & Smith, P.A.                                  Business debt                                                                                             $409,935.79
 Attn: Managing
 Agent
 P.O. Box 867
 New Bern, NC 28563




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
         Case 24-04510-5-JNC                    Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                                          Page 9 of 35

                                                      United States Bankruptcy Court
                                                         Eastern District of North Carolina
 In re    The Little Mint, Inc.                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Kenneth K. Moore                                                                                                             100%
P.O. Box 619
Mount Olive, NC 28365


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date December 31, 2024                                                   Signature /s/ Kenneth K. Moore
                                                                                        Kenneth K. Moore

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
         Case 24-04510-5-JNC             Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                             Page 10 of 35




                                               United States Bankruptcy Court
                                                  Eastern District of North Carolina
 In re    The Little Mint, Inc.                                                                   Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:      December 31, 2024                             /s/ Kenneth K. Moore
                                                         Kenneth K. Moore/President
                                                         Signer/Title
        Case 24-04510-5-JNC       Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07    Page 11 of 35



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1050 Holdings, LLC                      Advantage Leasing                 Airport Plaza, LLC
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
4000 Island Blvd, Apt 1807              13400 Bishops's Lane, Ste 280     11220 Elm Lane, Ste 200
North Miami Beach, FL 33160             Brookfield, WI 53005              Charlotte, NC 28277



1217 North Highway Holdings, LLC        Aftermath Cleaning                Ait-Bentley, Inc.
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
2439 Kuser Road                         716 W. Grubb Street               1217 NC-16 Business
Hamilton, NJ 08690                      Hertford, NC 27944                Conover, NC 28613



1586 Glendewar, LLC                     Ahoskie Center, LLC               AL Dept of Revenue
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
2850 Erie Street                        3265 Meridian Parkway, Ste 130    P.O. Box 154
San Diego, CA 92117                     Fort Lauderdale, FL 33331         Montgomery, AL 36135



22 Reynolds Properties                  Ahoskie, LLC                      AL Dept of Revenue
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
107 Gleneagles Way, Ste B               2626 Glenwood Ave, Ste 550        P.O. Box 327320
Advance, NC 27006                       Raleigh, NC 27608                 Montgomery, AL 36132



411 SW 11 Ave, LLC                      Air Adjusters, Inc.               AL Dept of Revenue
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
48 Soundview Drive                      2520 Tara Lane                    P.O. Box 327483
Great Neck, NY 11020                    Brunswick, GA 31520               Montgomery, AL 36132



7Shifts, Inc.                           Air Care Systems                  AL Dept of Revenue
211 19th Street East, Suite 703         Attn: Managing Agent              Attn: Managing Agent
Saskatoon, SK S7K 0A2 Canada            P.O. Box 1621                     P.O. Box 219
                                        Huntsville, AL 35807              Florence, AL 35631



A&E Vends, Inc.                         Airgas USA, LLC                   Alexis Satcher
Attn: Managing Agent                    Attn: Managing Agent              Bradley Arant Boult Cummings
102 Commercial Avenue                   P.O. Box 734672                   One Federal Place, 1819 Fifth AveN
Mount Olive, NC 28365                   Dallas, TX 75373                  Birmingham, AL 35203



Ada Foods, LLC                          Airlite Hood Cleaning Service     All-Safe Fire Protection
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
5805 Hwy 301 South                      242 West Main Street #408         3005 Knight Ave
Four Oaks, NC 27524                     Hendersonville, TN 37075          Waycross, GA 31503



ADT                                     Airport Plaza NC, LLC             Alliance
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
P.O. Box 371878                         11220 Elm Lane, Ste 200           17542 17th Street, Ste 200
Pittsburgh, PA 15250                    Charlotte, NC 28277               Tustin, CA 92780
     Case 24-04510-5-JNC       Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07    Page 12 of 35




Ally                                 An Extreme Clean                   AT&T
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
P.O. Box 9001948                     140 State Avenue, Ste 101          P.O. Box 5014
Louisville, KY 40290                 Clayton, NC 27520                  Carol Stream, IL 60197



Almaha, Inc.                         Andy's Charitable Foundation       ATK Grinders, Inc.
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
1336 Mebane Oaks Road                102 Commercial Ave                 60 Cronly Drive
Mebane, NC 27302                     Mount Olive, NC 28365              Delco, NC 28436



AlwaysCare Benefits, Inc.            AngelsLove 1, Inc.                 Atlantic Business Technologies
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
P.O. Box 2153                        4420 East 10th Street, Ste 124     4509 Creedmoor Road, Suite 201
Birmingham, AL 35287                 Greenville,, NC 27858              Raleigh, NC 27612



American Armor, LLC                  Anthony Venti                      Atmos Energy
Attn: Managing Agent                 2467 Vista Del Sol                 Attn: Managing Agent
P.O. Box 2555                        La Verne, CA 91750                 P.O. Box 740353
Grand Island, NE 68801                                                  Cincinnati, OH 45274



American Commerce Bank               ARC3 Gases, Inc.                   Automated Systems Design, Inc
Attn: Managing Agent/Officer         Attn: Managing Agent               Attn: Managing Agent
P.O. Box 309                         P.O. Box 896866                    775 Goddard Court
Bremen, GA 30110                     Charlotte, NC 28289                Alpharetta, GA 30005



American Plumbing Company            Ascentium Capital                  Automatic Sprinkler of Texas
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
P.O. Box 5114                        23970 Highway 59 North             P.O. Box 382091
Tyler, TX 75712                      Kingwood, TX 77339                 Duncanville, TX 75138



Amur Equipment Finance               Ascentium Capital                  B&M Contractors
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
P.O. Box 2555                        23970 Hwy 59 N                     790 Pitts Chapel Road
Grand Island, NE 68802               Kingwood, TX 77339                 Elizabeth City, NC 27909



Amur Equipment Finance               ASD Automated Systems Design Inc   Baker Roofing
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
P.O. Box 2555                        1075 Windward Ridge Pkwy, #180     P.O. Box 26057
Grand Island, NE 68801               Alpharetta, GA 30005               Raleigh, NC 27611



AMUR Equipment Finance, Inc          AT&T                               Balboa Capital
Attn: Managing Agent                 Attn: Managing Agent               Attn: Managing Agent
304 W. 3rd Street                    P.O. Box 105414                    575 Anton Blvd., 12th Floor
Grand Island, NE 68801               Atlanta, GA 30348                  Costa Mesa, CA 92626
     Case 24-04510-5-JNC           Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07      Page 13 of 35




Bankruptcy Administrator, EDNC           Bobby F. Herring PA                  Buck's Fire Equipment Sales Serv
434 Fayetteville Street                  Attn: Managing Agent                 Attn: Managing Agent
Suite 640                                113 E. James Street                  252 Saulston Road
Raleigh, NC 27601                        Mount Olive, NC 28365                Goldsboro, NC 27534



Beach Hutch, LLC                         Bog Water, Inc.                      Buncombe County Tax Office
Attn: Managing Agent                     Attn: Managing Agent                 Attn: Managing Agent
4700 Pemberton Drive                     6018 Hwy 11 South                    P.O. Box 3140
Raleigh, NC 27609                        Pink Hill, NC 28572                  Asheville, NC 28802



Bear Robotics                            Booki & Keetz, Inc.                  Burch Fire Systems & Service
Attn: Managing Agent                     Attn: Managing Agent                 Attn: Managing Agent
16650 Westgrove Dr, Ste 175              4779 US Hwy 117                      2145 Hipps Trail
Addison, TX 75001                        Pikeville, NC 27863                  Cumberland, MD 21503



BFPE Interntational                      Bradley Arant Boult Cummings LLP     Burke County Tax Collector
Attn: Managing Agent                     Attn: Alexis Satcher                 Attn: Managing Agent
P.O. Box 791045                          1819 Fifth Ave North                 P.O. Box 63072
Baltimore, MD 21279                      Birmingham, AL 35203                 Charlotte, NC 28263



Birmingham-Toledo, Inc.                  Brandon Wiggins                      Butte-Silver Bow County Tax Offic
Attn: Managing Agent                     386 Rones Chapel Road                Attn: Managing Agent
111 North Main Street                    Mount Olive, NC 28365                155 W Granite Street, Room 206
Graysville, AL 35073                                                          Butte, MT 59701



Bishop, Dulaney, Joyner and Abner        Brian Darer                          Butte-Silver Bow County Tax Offic
Attn: Managing Agent                     Parker Poe                           Attn: Managing Agent
4521 Sharon Road, Ste 250                301 Fayetteville St, Ste 1400        P.O. Box 611
Charlotte, NC 28211                      Raleigh, NC 27601                    Butte, MT 59703



Blaze Away Fire Protection, Inc.         Brooks Power Washing, LLC            C&G Force Foods LLC
Attn: Managing Agent                     Attn: Managing Agent                 Attn: Managing Agent
1003 Furman Drive                        P.O. Box 3                           1060 Edwards Road
Lumberton, NC 28358                      Pikeville, NC 27863                  Princeton, NC 27569



Boaz Gas Board                           Brunswick-Glenn County Water Sewer   Cabarrus County Tax Collector
Attn: Managing Agent                     Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 594                             P.O. Box 96401                       P.O. Box 580347
Boaz, AL 35957                           Charlotte, NC 28296                  Charlotte, NC 28258



Boaz Water & Sewer Board                 Bryn Mawr Equipment Finance, Inc.    Cadenhead Service & Gas
Attn: Managing Agent                     Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 498                             P.O. Box 692                         5940 State Hwy 276
Boaz, AL 35957                           Bryn Mawr, PA 19010-9000             Royse City, TX 75189
     Case 24-04510-5-JNC         Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07    Page 14 of 35




Camden County Tax Office               Card Services Center               Centurion Equity Partners, LLC
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
200 East 4th Street                    P.O. Box 71205                     2682 NW Noegel Road
Woodbine, GA 31569                     Mount Olive, NC 28365              Lake City, FL



Camden County Tax Office               Carolina Air Repair                Channel (CPC)
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
P.O. Box 698                           P.O. Box 1045                      10900 Wayazta Blvd #300
Woodbine, GA 31569                     Princeton, NC 27569                Hopkins, MN 55305



Camnat, Inc.                           Carolina Handling LLC              Charles Enterprises, LLC
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
3031 Town Center Drive                 P.O. Box 890352                    18800 Hubbard Drive, Ste 200
Fayetteville, NC 28348                 Charlotte, NC 28289                Dearborn, MI 48126



Canon Financial Services, Inc.         Carolina Phone & Alarm             Charter Communications
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
14904 Collections Center Drive         P.O. Box 2104                      P.O. Box 94188
Chicago, IL 60693                      Goldsboro, NC 27533                Palatine, IL 60094



Capital Growth Buchalter               Carteret Co. Chamber of Commerce   Charter Communications OperatingLL
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
361 Summit Blvd., Ste 110              801 Arendell St, Ste 1             2626 Glenwood Ave, Ste 550
Birmingham, AL 35243                   Morehead City, NC 28557            Raleigh, NC 27608



Capital One                            Carteret County Tax Office         Cherokee Ventures, LLC
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
P.O. Box 71083                         302 Courthouse Square              130 Corinthian Walk
Charlotte, NC 28272                    Beaufort, NC 28516                 Long Beach, CA 90803



Captain D's LLC                        Carteret County Tax Office         Chrisis Food Interprises, LLC
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
624 Grassmere Park Dr, Ste 30          P.O. Box 63063                     4390 Ocean Hwy
Nashville, TN 37211                    Charlotte, NC 28263                Murrells Inlet, SC 29576



Captain D's, LLC                       Catawba County Tax Office          Cintas
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
624 Grassmere Park Drive, Ste 30       P.O. Box 368                       P.O. Box 630803
Nashville, TN 37211                    Newton, NC 28658                   Cincinnati, OH 45263



Captain D's, LLC                       Centra Funding, LLC                Cintas
Attn: Managing Agent                   Attn: Managing Agent               Attn: Managing Agent
624 Grassmere Park Drive, Ste 30       1400 Preston Road, Ste 115         P.O. Box 630921
Nashville, TN                          Plano, TX 75093                    Cincinnati, OH 45263
      Case 24-04510-5-JNC    Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07   Page 15 of 35




Cintas                             City of Ennis                     City of Hinesville
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 650838                    P.O. Box 220                      115 E. Martin Luther King Jr Drive
Dallas, TX 75265                   Ennis, TX 75120                   Hinesville, GA 31313



Cintas                             City of Fayetteville              City of Kingsland
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 630910                    110 Elk Avenue South              P.O. Box 250
Cincinnati, OH 45263               Fayetteville, TN 37334            Kingsland, GA 31548



City of Athens                     City of Fayetteville              City of Laurinburg
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
508 E. Tyler                       P.O. Drawer D                     P.O. Box 249
Athens, TX 75751                   Fayetteville, NC 28302            Laurinburg, NC 28353



City of Baton Rouge                City of Florence                  City of Lawrenceburg
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 2590                      P.O. Box 877                      25 Public Square
Baton Rouge, LA 70821              Florence, AL 35631                Lawrenceburg, TN 38464



City of Boaz                       City of Fort Payne                City of Live Oak
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 537                       100 Alabama Ave NW                101 Southeast Ave
Boaz, AL 35957                     Fort Payne, AL 35967              Live Oak, FL 32064



City of Butte-Silver Bow           City of Gallatin                  City of Locust
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 667                       130 West Franklin                 P.O. Box 190
Gallatin Gateway, MT 59730         Gallatin, TN 37066                Locust, NC 28097



City of Crossville                 City of Goldsboro                 City of Lumberton
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
392 North Main Street              P.O. Box 88                       P.O. Box 1388
Crossville, TN 38555               Goldsboro, NC 27533               Lumberton, NC 28359



City of Denham Springs             City of Guntersville              City of Muscle Shoals
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 1629                      341 Guntersville Ave              P.O. Box 2624
Denham Springs, LA 70727           Guntersville, AL 35976            Muscle Shoals, AL 35662



City of Elizabeth City             City of Havelock                  City of New Bern
Attn: Managing Agent               Attn: Managing Agent              Attn: Managing Agent
P.O. Box 347                       P.O. Drawer 368                   P.O. Box 63005
Elizabeth City, NC 27907           Havelock, NC 28532                Charlotte, NC 28263
     Case 24-04510-5-JNC     Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07      Page 16 of 35




City of Roanoke Rapids             Colbert County Tax Office            Corporation Service Company
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
1040 Roanoke Ave                   201 N. Main Street                   P.O. Box 2576
Roanoke Rapids, NC 27870           Tuscumbia, AL 35674                  Springfield, IL 62708



City of Rocky Mount                Collin County Tax Office             Cox Business
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 1180                      900 E. Park Blvd. Ste 100            P.O. Box 919243
Rocky Mount, NC 27802              Plano, TX 75074                      Dallas, TX 75391



City of St. Marys                  Comcast                              Craven County Tax Office
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
418 Osborne Street                 P.O. Box 71211                       226 Pollock Street
Saint Marys, GA 31558                                                   New Bern, NC 28560



City of Statesville                Community Eye Care, LLC              CT Corporation System
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
301 S. Center Steet                P.O. Box 746996                      330 N. Brand Blvd., Ste 700
Statesville, NC 28625              Atlanta, GA 30374                    Glendale, CA 91203



City of Waycross                   Community Waste Disposal, LP         Cumberland County Tax Office
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
P.O. Drawer 99                     P.O. Box 208939                      117 Dick Street, Room 530
Waycross, GA 31502                 Dallas, TX 75320                     Fayetteville, NC 28301



City of Wylie                      Con-iley, Inc.                       Cumberland County Tax Office
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 660521                    3309 Berkshire Drive                 2 S. Main Street, Ste 111
Dallas, TX 75266                   Wilson, NC 27896                     Crossville, TN 38555



City of Zachary                    Connie W. Kittrell                   Cumberland County Tax Office
Attn: Managing Agent               132 West Main St., Room 111          Attn: Managing Agent
P.O. Box 310                       Gallatin, TN 37066                   P.O. Box 449
Zachary, LA 70791                                                       Fayetteville, NC 28302



Clark National Accounts            Consolidated Utility Rutherford Co   Cumberland County Tax Office
Attn: Managing Agent               Attn: Managing Agent                 Attn: Managing Agent
2205 Old Philadelphia Pike         P.O. Box 249                         P.O. Box 538313
Lancaster, PA 17602                Murfreesboro, TN 37133               Atlanta, GA 30353



Coastal Constructors, Inc          Cornerstone Development Properties   Dale Byrd
Attn: Managing Agent               Attn: Managing Agent                 9920 East Shore Drive
P.O. Drawer 11359                  P.O. Drawer 11359                    Willis, TX 77318
Goldsboro, NC 27532                Goldsboro, NC 27532
     Case 24-04510-5-JNC       Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07       Page 17 of 35




Danger Security                      Dept. of Business Regulation         Down East Protection Systems
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
1405 New Castle St                   2601 Blair Stone Road                P.O. Box 1415
Brunswick, GA 31520                  Tallahassee, FL 32399                Kinston, NC 28503



Darling Ingredients                  Dept. of Public Works                Dream Team Heating & Air
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
5601 N. MacArthur Blvd.              P.O. Box 667                         30590 Louisiana Hwy 16
Irving, TX 75038-7000                Butte, MT 59703                      Denham Springs, LA 70726



Darlington County Tax Office         Dext Capital, LLC                    Duke Energy Progress
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
1 Public Square, Room 207            4000 Kruse Way Pl Bldg. 3, Ste 100   P.O. Box 1094
Darlington, SC 29532                 Lake Oswego, OR 97035                Charlotte, NC 28201



Daryl J. Gerber                      Dominion Energy                      Duplicates Printing
445 Bishop St. NW                    Attn: Managing Agent                 Attn: Managing Agent
Atlanta, GA 30318                    P.O. Box 100256                      55 Lowcountry Lane
                                     Columbia, SC 29202                   Pawleys Island, SC 29585



Data Systems, Inc.                   Dominion Energy                      Duplin County Tax Office
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
6515 South 118th St, Ste 100         370 E. Washington St                 117 Beasley Street
Omaha, NE 68137                      Hartsville, SC 29550                 Kenansville, NC 28349



Datasite                             Dominion Energy                      Duval County Tax Office
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 74007252                    P.O. Box 25715                       231 E. Forsyth Street
Chicago, IL 60674                    Richmond, VA 23260                   Jacksonville, FL 32202



Davie County Tax Office              Dominion Energy                      Dylan James Management, Inc.
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
123 S. Main Street                   P.O. Box 26543                       102 Commercial Avenue
Mocksville, NC 27028                 Richmond, VA 23290                   Mount Olive, NC 28365



DeKalb Cherokee Co. Gas              DoorDash, Inc.                       Dynamic Media
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 680376                      303 2nd St South Tower Ste 800       38283 Mound Road
Fort Payne, AL 35968                 San Francisco, CA 94107              Sterling Heights, MI 48310



DeKalb County Tax Office             Double Dimension                     Earl's Electrical Heating & A/C Inc
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
206 Grand Ave. SW, Ste 101           2324 Pandy St SW                     P.O. Box 1053
Fort Payne, AL 35967                 Huntsville, AL 35801                 Laurinburg, NC 28352
      Case 24-04510-5-JNC         Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07       Page 18 of 35




East Coast Rising Tides, LLC            Empire Equipment                    Evers Construction Company, Inc.
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
1114-20 New Pointe Blvd.                P.O. Box 63310                      P.O. Box 87
Leland, NC 28451                        Charlotte, NC 28263                 Lawrenceburg, TN 38464



East Coast Rising Tides, LLC            Empire Unlimited                    Farmers Electric Cooperative
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
979 NC-210                              10149 Channel Road, Ste H           P.O. Box 5800
Sneads Ferry, NC 28460                  Lakeside, CA 92040                  Greenville, TX 75403



Eastern Wayne Sanitary District         Employers Assurance Company         Farmers Telecommunications Corp.
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 1580                           P.O. Box 842111                     P.O. Box 2153
Goldsboro, NC 27533                     Los Angeles, CA 90084               Birmingham, AL 35201



Ecolab Pest Elimination                 Employers Preferred Insurance Co.   Fayetteville Public Utilities
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
26252 Network Place                     P.O. Box 842111                     P.O. Box 120
Chicago, IL 60673                       Los Angeles, CA 90084               Fayetteville, TN 37334



Ecolab, Inc.                            EMR Hwy 55 AL LLC                   Fayetteville Public Works
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 32027                          201 Wilshire Blvd., 3rd Floor       P.O. Box 71113
New York, NY 10087                      Santa Monica, CA 90401              Charlotte, NC 28272



Ed Caissey, Inc.                        Endurance Morehead City, LLC        FBC of Knoxville LLC
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
2209 Airport Road                       209 Royal Tern Road North           P.O. Box 751151
Helena, MT 59601                        Ponte Vedra, FL 32082               Charlotte, NC 28275



Edgecombe County Tax Office             Energy United                       First Bank
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
201 St. Andrew Street, Ste 154          P.O. Box 1831                       508 Madison Street
Tarboro, NC 27886                       Statesville, NC 28687               Shelbyville, TN 37160



Electric Board of Guntersville          Entergy                             First Horizon Bank
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 45                             P.O. Box 8103                       1 Glenwood Ave, Ste 111
Guntersville, AL 35976                  Baton Rouge, LA 70891               Raleigh, NC 27603



Electric Board of Muscle Shoals         Etowah Extinguisher LLC             FL Dept. of Revenue
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 2547                           7291 Rocky Ford Road                P.O. Box 6520
Muscle Shoals, AL 35662                 Gadsden, AL 35903                   Tallahassee, FL 32314
     Case 24-04510-5-JNC       Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07        Page 19 of 35




FL Dept. of Revenue                  Four Future Ventures, LLC            Gallatin Fire Extinguisher LLC
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
5050 W. Tennessee St                 37 Mile Road                         P.O. Box 103
Tallahassee, FL 32399                Suffern, NY 10901                    Gallatin, TN 37066



FL Dept. of State                    Franklin Baking Company              Gallatin Public Utilities
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 6327                        P.O. Box 751207                      239 Hancock St
Tallahassee, FL 32314                Charlotte, NC 28275                  Gallatin, TN 37066



Flowers Bakeries Sales of GA, LLC    Ft. Payne Improvement Auth.          Gas South
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 748825                      P.O. Box 680617                      P.O. Box 530552
Atlanta, GA 30384                    Fort Payne, AL 35968                 Atlanta, GA 30353



Flowers Baking Co. of Baton Rouge    Ft. Payne Water Works                General Distributing Company
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 951578                      153 20th Street NE                   P.O. Box 2606
Dallas, TX 75395                     Fort Payne, AL 35967                 Great Falls, MT 59403



Flowers Baking Co. of Newton         Fuelman                              General Sign Company
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 748825                      P.O. Box 70887                       P.O. Box 884
Atlanta, GA 30384                    Charlotte, NC 28272                  Sheffield, AL 35660



Flowers Sales Co. of Alabama, LLC    Fuller Heating Air Plumbing Elect.   Georgia Natural Gas
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 101030                      P.O. Box 3089                        P.O. Box 71245
Atlanta, GA 30392                    Muscle Shoals, AL 35662              Charlotte, NC 28272



Flynn Sign Company, Inc              GA Dept. of Revenue                  Georgia Power
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
85 Burnett Street                    1800 Century Blvd NE                 96 Annex
Crossville, TN 38555                 Atlanta, GA 30345                    Atlanta, GA 30396



Ford Credit                          GA Dept. of Revenue                  GFL Enviromental
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 650575                      P.O. Box 740398                      P.O. Box 791519
Dallas, TX 75265                     Atlanta, GA 30374                    Baltimore, MD 21279



Forvis                               Gallatin Dept. of Electric           Glynn County Tax Office
Attn: Managing Agent                 Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 602828                      P.O. Box 1555                        1725 Reynolds St, Ste 100
Charlotte, NC 28260                  Gallatin, TN 37066                   Brunswick, GA 31520
     Case 24-04510-5-JNC        Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07      Page 20 of 35




Goeco                                 Griffin Family Restaurants, Inc      Heritage Landscaping
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 1597                         110 Reservoir Road                   P.O. Box 1416
Kinston, NC 28503                     Burnsville, NC 28715                 Athens, TX 75751



Greasecycle, LLC                      Grubhub Holdings Inc.                Herren's Heating & Cooling, Inc.
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
3900 Commerce Park Drive              111 W. Washington Street, Ste 2100   2457 CR 180
Raleigh, NC 27610                     Chicago, IL 60602                    Rainsville, AL 35986



Great Adventure, LLC                  Guntersville Water Board             Herring Electric
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
106 C New River Drive                 705 Bloun Ave                        P.O. Box 390
Surf City, NC 28455                   Guntersville, AL 35976               Mount Olive, NC 28365



Great American Financial Services     Hagar Restuartant Service            Hertford Count Tax Office
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 660831                       6200 NW 2nd Street                   704 N. King St #1
Dallas, TX 75266                      Oklahoma City, OK 73127              Winton, NC 27986



Great American Insurance              Hammer Time Services                 Holly Electric, Inc.
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 89400                        302 Mission Forest Trail             P.O. Box 2266
Cleveland, OH 44101                   Kingsland, GA 31548                  Live Oak, FL 32064



GreatAmerica Financial Service Corp   Hampstead Town Center, LLC           Holston Gases
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
625 First Street                      188 Wind Chime Court, Ste 201        1104 Putman Drive
Cedar Rapids, IA 52401                Raleigh, NC 27615                    Huntsville, AL 35816



Green Clips Lawn Care, Inc.           Heartland Payment Systems, LLC       Holston Gases
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
506 Woodlawn Ave                      160 Mine Lake Ct.                    808 Airport Road W
Muscle Shoals, AL 35661               Raleigh, NC 27608                    Fort Payne, AL 35967



Greene Ad-Cal Property LLC            Henager Fire Dept.                   Hoodz of SE Louisiana
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
2166 Joyce Lane                       P.O. Box 39                          1st Ann Drive, Unit 2322
Fairfield, CA 94534                   Henagar, AL 35978                    Mandeville, LA 70471



Greene Ad-Cal Property, LLC           Henderson County Tax Office          Houghton Development, Inc.
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
2166 Joyce Lane                       125 N. Prarieville #103              6425 Motts Village Road
Fairfield, CA 94534                   Athens, TX 75751                     Wilmington, NC 28412
     Case 24-04510-5-JNC         Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07   Page 21 of 35




Howell's Back Roads, Inc.                Hwy 55 Huntington, LLC          Institution Food House, Inc.
Attn: Managing Agent                     Attn: Managing Agent            Attn: Managing Agent
1183 Unviersity Drive                    5795 Ulmerton Road              543 12th Street Drive NW
Burlington, NC 27215                     Clearwater, FL 33760            Hickory, NC 28601



Hudson Heating & Air                     Hwy 55 of Greensboro            Internal Revenue Service
Attn: Managing Agent                     Attn: Managing Agent            Centralized Insolvency Operations
P.O. Box 58                              3706 Elmsley Court #105         P.O. Box 7346
Brunswick, GA 31521                      Greensboro, NC 27406            Philadelphia, PA 19101-7346



Huffman Mill Plaza Limited Partnership   Hwy 55 of Tennessee, Inc.       Iredell County Tax Office
Attn: Managing Agent                     Attn: Managing Agent            Attn: Managing Agent
14600 Weston Parkway, Ste 200            243 Nelson Road                 P.O. Box 1027
Cary, NC 27513                           Lawrenceburg, TN 38464          Statesville, NC 28687



Hunt Companies, Inc.                     Hwy 55 of the Virginias, LLC    Iredell Water Corp.
Attn: Managing Agent                     Attn: Managing Agent            Attn: Managing Agent
201 West Railroad Street                 4835 Cedar Point Lane           P.O. Box 711
Clinton, NC 28328                        Dublin, VA 24084                Statesville, NC 28687



Hwy 55 Boaz, LLC                         Hwy 55 Valdosta, LLC            J&J Lawn Care
Attn: Managing Agent                     Attn: Managing Agent            Attn: Managing Agent
5795 Ulmerton Road                       5795 Ulmerton Road              402 Maple Street
Clearwater, FL 33760                     Clearwater, FL 33760            Locust, NC 28097



Hwy 55 Boaz, LLC c/o CSC Properties, Hwy
                                     LLC 55 West, Inc.                   J&V Restaurant & Fire
Attn: Managing Agent                 Attn: Managing Agent                Attn: Managing Agent
5795 Ulmerton Road                   4869 Doe Hill Place                 810 1st Avenue North
Clearwater, FL 33760                 Lenoir, NC 28645                    Great Falls, MT 59401



Hwy 55 Commonwealth, LLC                 Hybrid Moments, LLC             J.R. Cottle, Inc.
Attn: Managing Agent                     Attn: Managing Agent            Attn: Managing Agent
5795 Ulmerton Road                       979 N Carolina 210              722 D Hwy 74
Clearwater, FL 33760                     Sneads Ferry, NC 28460          Rockingham, NC 28379



Hwy 55 Florence, LLC                     IB Builders, Inc.               Jacob Cothren
Attn: Managing Agent                     Attn: Managing Agent            114 Woodside Lane
5795 Ulmerton Road                       P.O. Box 5488                   Lawrenceburg, TN 38464
Clearwater, FL 33760                     Kinston, NC 28503



Hwy 55 Guntersville, LLC                 Impact Fire Services, LLC       James Barnes
Attn: Managing Agent                     Attn: Managing Agent            520 Hammond Street
5795 Ulmerton Road                       P.O. Box 735063                 Rocky Mount, NC 27804
Clearwater, FL 33760                     Dallas, TX 75373
      Case 24-04510-5-JNC         Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07   Page 22 of 35




Jaycee Investments LLC                  JR Cottle, Inc.                   KLC Financial
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
231 E. Alessandro Blvd. #A384           746 US HWY 74 Business East       4350 Baker Road, Ste 100
Riverside, CA 92508                     Rockingham, NC 28379              Hopkins, MN 55343



JB&B Capital, LLC                       July Services                     Koorsen Fire & Security
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
109 S Northshore Drive, Ste 200         P.O. Box 4346                     2719 N Arlington Ave
Knoxville, TN 37919                     Houston, TX 77210                 Indianapolis, IN 46218



JB&B Capital, LLC                       K-9 Lawn Care, Inc.               Kristen Hicks SMM LLC
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
P.O. Box 10068                          P.O. Box 2628                     230 Varden Place
Knoxville, TN 37939                     Elizabeth City, NC 27906          Swannanoa, NC 28778



JDR Associates, LLC                     Karen C. Calcagno                 LA Dept. of Revenue
Attn: Managing Agent                    P.O. Box 62                       Attn: Managing Agent
4040 Ed Drive, Ste 201                  Soquel, CA 95072                  617 N 3rd Street
Raleigh, NC 27612                                                         Baton Rouge, LA 70802



JEA                                     Karen Moore                       LA Dept. of Revenue
Attn: Managing Agent                    P.O. Box 619                      Attn: Managing Agent
P.O. Box 45047                          Mount Olive, NC 28365             P.O. Box 4969
Jacksonville, FL 32232                                                    Baton Rouge, LA 70821



Jerry Stevens                           Kemco Facilities Services LLC     Lane & McClain Distributors, Inc.
524 Rosewood Drive                      Attn: Managing Agent              Attn: Managing Agent
Smithfield, NC 27577                    5750 Bell Circle                  2245 Midway Rd, Ste 300
                                        Montgomery, AL 36116              Carrollton, TX 75006



Johnson Breeders, Inc.                  Kenneth K. Moore                  Larry L. Huneycutt
Attn: Managing Agent                    P.O. Box 619                      425 East Arrowhead Drive
3425 S. US Highway 17                   Mount Olive, NC 28365             Charlotte, NC 28213
Rose Hill, NC 28458



Jonthan Cottle                          King International Corp.          Lauderdale County Tax Office
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
1340 Carolina Drive                     P.O. Box 1009                     P.O. Box 7494
Rockingham, NC 28379                    King, NC 27021                    Florence, AL 35631



JR Cottle, Inc.                         KKSK, LLC                         Lawrence Co Solid Waste
Attn: Managing Agent                    Attn: Managing Agent              Attn: Managing Agent
9050 Richlands Hwy                      1103 E. Wheel Road                700 Mahr Ave
Richlands, NC 28574                     Bel Air, MD 21015                 Lawrenceburg, TN 38464
     Case 24-04510-5-JNC          Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07     Page 23 of 35




Lawrence County Tax Office              Liberty Mutual Insurance Co         Lowes Business Account/SYNCB
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
200 West Gaines Street, Ste 101         P.O. Box 91013                      P.O. Box 669824
Lawrenceburg, TN 38464                  Chicago, IL 60680                   Dallas, TX 75266



Lawrenceburg Utility Systems            Lincoln County Tax Office           m2 Equipment Finance LLC
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
25 Public Square                        112 Main Avenue South, Room 103     20800 Swenson Drive, Ste 475
Teachey, NC 28464                       Fayetteville, TN 37334              Waukesha, WI 53186-3000



Leaf Capital Funding, LLC               Lindmark Outdoor Media              m2 Equipment Finance LLC
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
2005 Market Street, 14th Floor          P.O. Box 646015                     175 N. Patrick Blvd., Ste 140
Philadelphia, PA 19103                  Dallas, TX 75264                    Brookfield, WI 53045



Leaf Capital Funding, LLC               Lisa Lutz TTE, IRR Trust            M3G Marketing Group
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 5066                           141 Via Copla                       1111 Joel Street
Hartford, CT 06152                      Alamo, CA 94507                     China Grove, NC 28023



Lease Accelerator                       Livingston Parish                   Macquarie Equipment Capital Inc.
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
10740 Parkridge Blvd. #701              P.O. Box 1030                       1301 Riverplace Blvd.
Reston, VA 20191                        Livingston, LA 70754                Jacksonville, FL 32207



LeBleu of Wilson                        Livingston Parish Tax Collector     Mahoney Environmental
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 3062                           P.O. Box 370                        37458 Eagle Way
Wilson, NC 27895                        Livingston, LA 70754                Chicago, IL 60678



Lee Inc of Mt. Olive                    Locklear and Sons Lawn Care         Mahoney Environmental Solutions, LL
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
P.O. Box 397                            12421 Pineview Drive                1200 Internationale Pkwy, Ste 150
Maxton, NC 28364                        Laurinburg, NC 28352                Woodridge, IL 60517



Lenny Fitts                             Loomis                              Mallard Oil Company
1031 Butterfly Circle                   Attn: Managing Agent                Attn: Managing Agent
Wake Forest, NC 27587                   P.O. Box 120757                     1240 Hwy 70 East
                                        Dallas, TX 75312                    New Bern, NC 28560



Liberty County Tax Office               Louisiana Fire Extinguisher, Inc.   Marlin Leasing Corp.
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
112 N. Main Street, Room 106            8339 Athens Ave                     300 Fellowship Road
Hinesville, GA 31313                    Baton Rouge, LA 70814               Mount Laurel, NJ 08054
      Case 24-04510-5-JNC        Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07     Page 24 of 35




Marlin Leasing Corp.                   Mediterranean MHE, LLC              Morris Pest Control, LLC
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
P.O. Box 13604                         1805 Sugarbush Drive                P.O. Box 1189
Philadelphia, PA 19101                 Vista, CA 92084                     Rainsville, AL 35986



Marshall County Gas District           Middle Tennessee Electric           Mowmentum Lawn Care
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
P.O. Box 170                           P.O. Box 330008                     13461 Hammack Road
Guntersville, AL 35976                 Murfreesboro, TN 37133              Denham Springs, LA 70726



Marshall County Tax Office             Middle Tennessee Natural Gas        Mr. Brothers, Inc.
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
424 Blount Ave, Ste 124                P.O. Box 720                        3511 Airport Blvd.
Guntersville, AL 35976                 Smithville, TN 37166                Wilson, NC 27893



Marshall Dekalb Electric Co-op         Mitratech                           Mr. Rooter Plumbing
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
P.O. Box 724                           950 17th St, Ste 700                4624 Genesis Road
Boaz, AL 35957                         Denver, CO 80202                    Crossville, TN 38571



Marshall Medical Centers               Mitsubishi HC Captial America Inc   Mr. Snowden's Pest Control
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
227 Brittany Road                      7201 Metro Blvd, Suite 800          P.O. Box 1703
Guntersville, AL 35976                 Minneapolis, MN 55439               Elizabeth City, NC 27906



Marshall Radiology PC                  MKMJ, LLC                           Mspark Media, LLC
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
P.O. Box 1164                          4030 Wake Forest Road, Ste 349      P.O. Box 96576
Dalton, GA 30722                       Raleigh, NC 27609                   Charlotte, NC 28296



McGrane Living Trust                   Mobo Systems, Inc.                  MT Dept. of Revenue
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
5061 Riverdo Street                    285 Fulton St., 82nd Floor          P.O. Box 5805
Las Vegas, NV 89135                    New York, NY 10007                  Helena, MT 59604



Meade & Associates, Inc.               Moon Unit, Inc.                     Mt. Olive Chamber of Commerce
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
737 Enterprise Drive                   102 Commercial Avenue               123 N. Center Street
Lewis Center, OH 43035                 Mount Olive, NC 28365               Mount Olive, NC 28365



Mean Green Pest Pros                   Moore Fun Enterprises, Inc.         Mt. Olive Rotary
Attn: Managing Agent                   Attn: Managing Agent                Attn: Managing Agent
875 Seven Oaks Blvd #410               27 Twicwood Lane                    P.O. Box 1
Smyrna, TN 37167                       Queensbury, NY 12804                Mount Olive, NC 28365
     Case 24-04510-5-JNC           Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07       Page 25 of 35




Nancy S. Litwak                          Net Lease Assoc.- Ennis, LLC          Net Lease Associates, LLC
Rosenwood Rose & Pitwak PLLC             Attn: Managing Agent                  Attn: Managing Agent
1712 Euclid Ave                          105 Tallapossa St, Ste 307            3 E. Cleveland Court
Charlotte, NC 28203                      Montgomery, AL 36104                  Greenville, SC 29607



Nash County Tax Office                   Net Lease Assoc.- Laurinburg, LLC     Net Lease Associates- Winston Sa
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
120 W. Washington Street #2058           3 E Cleveland Court                   3 E. Cleveland Court
Nashville, NC 27856                      Greenville, SC 29607                  Greenville, SC 29607



National Telecom Deployments             Net Lease Assoc.- Live Oak, LLC       Net Lease Associates-Ennis, LLC
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
38283 Mound Road                         105 Tallapossa Street, Ste 307        105 Tallapoosa St, Ste 307
Sterling Heights, MI 48310               Montgomery, AL 36104                  Montgomery, AL 36104



Natrina Jones                            Net Lease Assoc.- Lumberton, LLC      Net Lease Associates-Ennis, LLC
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
4420 East 10th Street, Ste 124           3 E Cleveland Court                   515 Church Street, Ste 1
Greenville,, NC 27858                    Greenville, SC 29607                  Franklin, TN 37064



Navitas Credit Corp                      Net Lease Assoc.-Ennis, LLC           Net Lease Associates-Lenoir, LLC
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
201 Executive Center Dr, Ste 100         515 Church Street, Suite 1            105 Tallapoosa Street, Ste 307
Columbia, SC 29210                       Franklin, TN 37064                    Montgomery, AL 36104



NC Department of Revenue                 Net Lease Assoc.-Ennis, LLC           Net Lease Associates-Lenoir, LLC
Attn: Bankruptcy Unit                    Attn: Managing Agent                  Attn: Managing Agent
P.O. Box 1168                            P.O. Box 129                          515 Church Street, Ste 1
Raleigh, NC 27602-1168                   Franklin, TN 37065                    Franklin, TN 37064



NC Dept. of Labor, DES                   Net Lease Assoc.-Muscle Shoals, LLC   Net Lease Associates-Mount Olive,LL
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
P.O. Box 26504                           105 Tallapoosa St, Ste 307            3 E. Cleveland Court
Raleigh, NC 27611                        Montgomery, AL 36104                  Greenville, SC 29607



NC Secretary of State                    Net Lease Assoc.-Muscle Shoals, LLC   Net Lease Associates-Muscle ShoaLL
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
P.O. Box 29622                           P.O. Box 129                          105 Tallapoosa Street, Ste 307
Raleigh, NC 27626                        Franklin, TN 37065                    Montgomery, AL 36104



Neil Scott 5, LLC                        Net Lease Assoc.-Muscle Shoals, LLC   Net Lease Associates-Muscle ShoaLL
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Wayne Harris
8215 Cushing Street                      515 Church Street, Suite 1            515 Church Street, Ste 1
Raleigh, NC 27613                        Franklin, TN 37064                    Franklin, TN 37064
     Case 24-04510-5-JNC       Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07   Page 26 of 35




Net Lease Associates-Richlands, LLC   Oil Solutions Group              Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
105 Tallapoosa Street, Ste 307        P.O. Box 7633                    2571 Sidney Lanier Dr
Montgomery, AL 36104                  Marietta, GA 30065               Brunswick, GA 31525



Net Lease Associates-Richlands, LLC   Old Skool Management, Inc.       Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
515 Church Street, Ste 1              3511 Airport Blvd.               P.O. Box 310
Franklin, TN 37064                    Wilson, NC 27893                 Cookeville, TN 38503



New Equipment Leasing, Inc.           Old Skool Management, Inc.       Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
2880 Thornhills Ave SE                2620 Forest Hills SW             12030 Lakeland Park, Ste 125
Grand Rapids, MI 49546                Wilson, NC 27893                 Baton Rouge, LA 70809



North Mill Credit Trust               Old Skool Management, Inc.       Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
9 Executive Circle, Ste 230           2907 East 10th Street            P.O. Box 1174
Irvine, CA 92614                      Greenville, NC 27858             Murfreesboro, TN 37133



North Star Leasing                    Old Skool Management, Inc.       Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
P.O. Box 4505                         1900 West Arlington Blvd.        P.O. Box 110708
Burlington, VT 05406                  Greenville, NC 27834             Nashville, TN 37222



Northwestern Energy                   Old Skool Management, Inc.       Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
11 E Park Stret                       1920 H Smythewyck Drive          6767 Old Madison Pike NW
Butte, MT 59701                       Greenville, NC 27858             Huntsville, AL 35806



NuCO2-1                               Old Towne Electric, Inc.         Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
P.O. Box 417902                       5006 Matty Street, Ste B         675 Blue Rock Court
Boston, MA 02241                      Morehead City, NC 28557          Winston Salem, NC 27103



Nunn Brashear & Ussell, PA            Optimum Business                 Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
P.O. Box 10127                        P.O. Box 70340                   P.O. Box 740473
Goldsboro, NC 27532                   Philadelphia, PA 19176           Cincinnati, OH 45274



O'Neal Roofing Company, Inc.          Orkin                            Orkin
Attn: Managing Agent                  Attn: Managing Agent             Attn: Managing Agent
P.O. Box 2166                         10299 Robinson Drive             P.O. Box 638898
Lake City, FL 32056                   Tyler, TX 75703                  Cincinnati, OH 45263
     Case 24-04510-5-JNC        Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07   Page 27 of 35




P Dog, LLC (Subfranchisee)            Performance Food Group            Primepay
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
750 Leonard Ave, Ste E                P.O. Box 60163                    1487 Dunwoody Drive
Albermarle, NC 28001                  Charlotte, NC 28260               West Chester, PA 19380



Pasquotank County Tax Office          Performance Food Group, Inc.      Pro-Chem Pest Management
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
203 E Main Street                     12500 West Creek Pkwy             P.O. Box 53392
Elizabeth City, NC 27909              Richmond, VA 23238                Fayetteville, NC 28305



Pawnee Leasing Corporation            Phillip Elmore                    Prudential
Attn: Managing Agent                  238 Greenpath Road                Attn: Managing Agent
P.O. Box 736166                       Godwin, NC 28344                  P.O. Box 856166
Dallas, TX 75373                                                        Louisville, KY 40285



Paytronix Systems, Inc.               Piedmont Natural Gas              Purcor Pest Solutions
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
80 Bridge Street                      P.O. Box 1246                     P.O. Box 600607
Newton, MA 02458                      Charlotte, NC 28201               Jacksonville, FL 32260



Pender County Tax Office              Pinnacle Bank                     R&W Properties III, LP
Attn: Managing Agent                  Attn: Managing Agent/Officer      Attn: Managing Agent
P.O. Box 1047                         1111 Northshore Drive, Ste S800   P.O. Box 18153
Burgaw, NC 28425                      Knoxville, TN 37919               Huntsville, AL 35804



Pepsi Cola                            Pitney Bowes Global Financial     RAM-Ft. Payne Devlop. Partners, LL
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
75 Remittance Drive, Ste 1884         P.O. Box 981026                   2200 Magnolia Avenue S, Ste 100
Chicago, IL 60675                     Boston, MA 02298                  Birmingham, AL 35205



PepsiCo Sales, Inc.                   Plateau Enviro Pumping Plus       Republic Services
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
700 Anderson Hill Road                97 Thurman Lane                   P.O. Box 78829
Purchase, NY 10577                    Crossville, TN 38571              Phoenix, AZ 85062



Per Data Central                      Portier, LLC                      Republic Services
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
P.O. Box 11407                        160 Mine Lake Ct., Ste 200        P.O. Box 71068
Birmingham, AL 35246                  Raleigh, NC 27615                 Charlotte, NC 28272



Performance Food Group                Presovian 8, LLC                  Republic Services
Attn: Managing Agent                  Attn: Managing Agent              Attn: Managing Agent
543 12th Street Drive NW              5060 Bellaire Avenue              P.O. Box 677156
Hickory, NC 28601                     Valley Village, CA 91607          Dallas, TX 75267
     Case 24-04510-5-JNC        Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07      Page 28 of 35




Republic Services                     Robeson County Tax Office            Scotland County Tax Office
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 9001099                      550 N. Chestnut Street               P.O. Box 488
Louisville, KY 40290                  Lumberton, NC 28358                  Laurinburg, NC 28353



Retail Data Systems                   Rocky Fields, LLC                    Select Sign Systems
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
4616 South Main Street                1420 E 7th St Suite 100              2188 Nesconnset Hwy #267
Acworth, GA 30101                     Charlotte, NC 28204                  Stony Brook, NY 11790



Retail Data Systems                   Rose Refrigeration                   Selective Insurance
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
4616 South Main St.                   2675 Thompson Road                   P.O. Box 782747
Ackworth, GA 30101                    Four Oaks, NC 27524                  Philadelphia, PA 19178



Review Trackers                       RRL Limited Partnership              Sentry Insurance
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
1 North State Street, Ste 600         P.O. Box 88                          P.O. Box 8048
Chicago, IL 60602                     Edison, CA 93220                     Stevens Point, WI 54481



RF Technologies                       Rutherford County Tax Office         Serv-Ware Products
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 142                          Historic Courthouse, Room 102        P.O. Box 63272
Bethalto, IL 62010                    Murfreesboro, TN 37130               Charlotte, NC 28263



Riach NC Properties                   SC Dept. of Revenue                  Shell Energy Solutions
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
130 Corinthian Walk                   300A Outlet Pointe Blvd.             P.O. Box 733560
Long Beach, CA 90803                  Columbia, SC 29210                   Dallas, TX 75373



Rich's Food Stores, LLC               SCF RC Funding IV LLC                SIB Development & Consulting
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
3031 Town Center Drive                902 Carnegie Center Blvd., Ste 520   P.O. Box 736603
Fayetteville, NC 28348                Princeton, NJ 08540                  Dallas, TX 75373



Richardson Waste Removal, LLC         SCF RC Funding IV LLC                Simply Rob Two, Inc.
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
318 Lincoln Road                      902 Carnegie Blvd., Ste 250          6001 Castle Hayne Road
Fayetteville, TN 37334                Princeton, NJ 08540                  Castle Hayne, NC 28429



Ring Central                          Schindler Elevator Corp.             Simply Rob, Inc.
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
20 Davis Drive                        P.O. Box 93050                       604 West Main Street
Belmont, CA 94002                     Chicago, IL 60673                    Beulaville, NC 28518
     Case 24-04510-5-JNC          Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07    Page 29 of 35




Sloan Pest Control                      Square One Fire & Safety           Sumner County Tax Office
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
603 Mt. Pleasant Road                   605 Lebanon Road SW                355 North Belvedere Drive, Room 1
Hortense, GA 31543                      Fort Payne, AL 35967               Gallatin, TN 37066



Solutions HVAC & Plumbing               Stanly County Tax Office           Sunwest Pensions
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
2103 S Kufman Street                    201 South 2nd Street, 2nd Floor    P.O. Box 7850
Ennis, TX 75119                         Albemarle, NC 28001                Tempe, AZ 85281



Southeastern Kitchen Exhaust            Stanly County Utilities            Suwannee County Tax Office
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
2843 Co Road 781                        1000 N. First Street, Ste 13       215 Pine Ave, Ste A
Cullman, AL 35055                       Albemarle, NC 28001                Live Oak, FL 32064



Southern Air Heating & Cooling          State of Flordia                   Suwannee Valley Electric Coop
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
11999 Industriplex Blvd                 2601 Blair Stone Road              P.O. Box 2000
Baton Rouge, LA 70809                   Tallahassee, FL 32399              Lake City, FL 32056



Southern Brothers Plumbing, LLC         State of Tennessee                 Swanson Girard Distributing
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
179 W. Smith Street                     P.O. Box 198990                    10420 Southern Loop Blvd.
Gallatin, TN 37066                      Nashville, TN 37219                Pineville, NC 28134



Southern Heels Management, Inc.         State of Tennessee                 Synter Resource Group, LLC
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
1792 South Lake Drive                   312 Rosa L. Parks Ave, 6th Floor   P.O. Box 63247
Lexington, SC 29073                     Nashville, TN 37243                North Charleston, SC 29419



Southern Kitchen Services, Inc.         Stay Cool Call Frost               Sysco Food
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
877 Seven Oaks Blvd, Ste 530            10 Cherokee Place                  1032 Baugh Road
Smyrna, TN 37167                        Crossville, TN 38572               Selma, NC 27576



Spark Energy Gas                        Steven Perry                       Sysco Food
Attn: Managing Agent                    105 Core Drive East                Attn: Managing Agent
P.O. Box 42424                          Morehead City, NC 28557            4500 Corporate Drive NW
Dallas, TX 75265                                                           Concord, NC 28027



Spectrum Business/Charter               Story Disposal Service             Sysco Food
Attn: Managing Agent                    Attn: Managing Agent               Attn: Managing Agent
PO Box 94188                            946 Mattox Town Road               1501 Lewis Industrial Drive
Palatine, IL 60094                      Lawrenceburg, TN 38464             Jacksonville, FL 32254
      Case 24-04510-5-JNC      Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07       Page 30 of 35




Sysco Food                           Tangipahoa Water District             The Covengton Group LTD
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
One Hermitage Plaza                  46463 N. Morrison Blvd                2200 S. Charles Blvd., Ste 107
Nashville, TN 37209                  Hammond, LA 70401                     Greenville, NC 27858



Sysco Food                           Taylor Freezer Company                The Hanover Insurance Co.
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
800 Trinity Drive                    P.O. Box 5807                         P.O. Box 580045
The Colony, TX 75056                 Chesapeake, VA 23324                  Charlotte, NC 28258



Sysco Food                           Taylor Sales & Service                The Hertford
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
1000 Sysco Drive                     P.O. Box 100459                       P.O. Box 660916
Calera, AL 35040                     Birmingham, AL 35210                  Dallas, TX 75226-6000



Sysco Food                           TBF Group Shutters Creek, LLC         The Patrick H. Bitter Trust
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
1509 Montana Road                    175 Great Neck Road, Ste 201          103 Eureka Canyon Road
Billings, MT 59101                   Great Neck, NY 11021                  Watsonville, CA 95076



TAGex Sales, LLC                     TCP Leasing, Inc.                     The Sherwin-Williams Company
Attn: Managing Agent                 Attn: Managing Agent                  11 La-Vista Perimeter Office Park
121 Sully's Trail, Ste 8             8364-102 Six Forks Road               Ste 107
Pittsford, NY 14534                  Raleigh, NC 27615                     Tucker, GA 30084



TalentReef, Inc.                     Terminx                               Tidal Creeks Management, INC
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
P.O. Box 8027                        P.O. Box 2587                         4421 Main St
Carol Stream, IL 60197               Fayetteville, NC 28302                Shallotte, NC 28470



TalentReef, Inc.                     Texas Comptroller of Public Account   Timepayment Corp.
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
950 17th Street, Ste 700             111 East 17th Street                  200 Summit Drive, Ste 100
Denver, CO 80202                     Austin, TX 78774                      Burlington, MA 01803



Tangipahoa Parish Sheriff            TFG TN LLC                            Timepayment Corp.
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
P.O. Box 1327                        2940 Foster Creighton Drive           P.O. Box 847237
Robert, LA 70455                     Nashville, TN 37204                   Boston, MA 02284



Tangipahoa Parish Tax Office         TFGroup, LLC                          Tiny Frog, Inc
Attn: Managing Agent                 Attn: Managing Agent                  Attn: Managing Agent
313 E. Oak Street                    4633 Sanford Street                   1536 North Main Street
Amite, LA 70422                      Metairie, LA 70006                    Lillington, NC 27546
     Case 24-04510-5-JNC   Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07      Page 31 of 35




Tiny Frog, Inc.                  Towne Insurance Agency, LLC          TWP Brunswick Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
12490 NC-210                     3 Commercial Place, Ste 1000         250 Robinson Drive, Ste B
Benson, NC 27504                 Norfolk, VA 23510                    Fayetteville, GA 20214



Tiny Frog, Inc.                  Trace Management, Inc.               TWP Hines Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
2451 NC-42                       611 East Southerland Street          445 Bishop St. NW
Clayton, NC 27527                Wallace, NC 28466                    Atlanta, GA 30318



Tiny Frog, Inc.                  Track West Partners, LLC             TWP Kings Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
1011 S Smithfield Road           1962 Howell Mill Road NW, Ste 210    1962 Howell Mill Road, Ste 210
Knightdale, NC 28545             Atlanta, GA 30318                    Atlanta, GA 30318



Tiny Frog, Inc.                  Trash Control Inc                    TWP Kings Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
2000 W Cumberland St.            2302 Lancaster Hwy                   1962 Howel Mill Road, Ste 210
Dunn, NC 28334                   Monroe, NC 28112                     Atlanta, GA 30318



Tiny Frog, Inc.                  Tri-State Technology Solutions LLC   TWP Law Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
275 Cottle Lake Drive            5767 AI Highway 40                   1962 Howell Mill Road, Ste 210
Coats, NC 27521                  Dutton, AL 35744                     Atlanta, GA 30318



Tiny Frog, Inc.                  TWC Services, Inc.                   TWP Law Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
275 Cottle Lake Drive            P.O. Box 14496                       1962 Howel Mill Road, Ste 210
Coats, NC 28334                  Des Moines, IA 50306                 Atlanta, GA 30318



TN Dept of Revenue               Two Plus, Inc.                       TWP MF Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
500 Deaderick Street             5717 US Hwy 117 Alt.                 1962 Howell Mill Road, Ste 210
Nashville, TN 37242              Mount Olive, NC 28365                Atlanta, GA 30318



Toast, Inc.                      TWP Brunswick Retail, LLC            TWP MF Retail, LLC
Attn: Managing Agent             Attn: Managing Agent                 Attn: Managing Agent
333 Summer Street                445 Bishop St. NW                    1962 Howel Mill Road, Ste 210
Boston, MA 02210                 Atlanta, GA 30318                    Atlanta, GA 30318



Tom Hartzell                     TWP Brunswick Retail, LLC            TWP PCP ATHTX RETAIL, LLC
1209 Club View Drive             Attn: Managing Agent                 Attn: Managing Agent
Dayton, OH 45458                 250 Robinson Drive, Suite B          2964 Peachtree Road NW, Ste 650
                                 Fayetteville, GA 30214               Atlanta, GA 30305
     Case 24-04510-5-JNC         Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07    Page 32 of 35




TWP PCP CLAY RETAIL, LLC               TWP PCP Marion Retail, LLC        TWP PCP Weav Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
445 Bishop St. NW                      445 Bishop St NW                  4030 Wake Forest Road, Ste 349
Atlanta, GA 30318                      Atlanta, GA 30318                 Raleigh, NC 27609



TWP PCP Cross Retail, LLC              TWP PCP Marion Retail, LLC        TWP PCP Wilkes Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
445 Bishop St. NW                      445 Bishop St. NW                 445 Bishop St. NW
Atlanta, GA 30318                      Atlanta, GA 30318                 Atlanta, GA 30318



TWP PCP Dunn Retail, LLC               TWP PCP MCG Retail, LLC           TWP PCP Zeb Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
445 Bishop St. NW                      445 Bishop St. NW                 2964 Peachtre Road NW Suite 650
Atlanta, GA 30318                      Atlanta, GA 30318                 Atlanta, GA 30305



TWP PCP EC Retail, LLC                 TWP PCP Mocks Retail, LLC         TWP Rock Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
445 Bishop St. NW                      2964 Peachtree Road NW, Ste 650   1962 Howel Mill Road, Ste 210
Atlanta, GA 30318                      Atlanta, GA 30305                 Atlanta, GA 30318



TWP PCP Fay Retail, LLC                TWP PCP San Retail, LLC           TWP Way Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
445 Bishop St NW                       445 Bishop St. NW                 1962 Howell Mill Road, Ste 210
Atlanta, GA 30318                      Atlanta, GA 30318                 Atlanta, GA 30318



TWP PCP Fay Retail, LLC                TWP PCP State Retail, LLC         TWP Way Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
445 Bishop St. NW                      445 Bishop St NW                  1962 Howel Mill Road, Ste 210
Atlanta, GA 30318                      Atlanta, GA 30318                 Atlanta, GA 30318



TWP PCP Gall Retail, LLC               TWP PCP STATE Retail, LLC         TWP Wylie Retail, LLC
Attn: Managing Agent                   c/o Track West Partners           Attn: Managing Agent
445 Bishop St. NW                      445 Bishop St NW                  1962 Howell Mill Road, Ste 210
Atlanta, GA 30318                      Atlanta, GA 30318                 Atlanta, GA 30318



TWP PCP LOC I Retail, LLC              TWP PCP State Retail, LLC         TWP Wylie Retail, LLC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Managing Agent
1962 Howell Mill Road, Ste 210         4030 Wake Forest Road, Ste 349    1962 Howel Mill Road, Ste 210
Atlanta, GA 30318                      Raleigh, NC 27609                 Atlanta, GA 30318



TWP PCP LOC I Retail, LLC              TWP PCP Tull Retail, LLC          U.S. Attorney, EDNC
Attn: Managing Agent                   Attn: Managing Agent              Attn: Civil Process Clerk
1963 Howel Mill Road, Ste 210          445 Bishop St. NW                 150 Fayetteville Street, Suite 2100
Atlanta, GA 30318                      Atlanta, GA 30318                 Raleigh, NC 27601
      Case 24-04510-5-JNC          Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07    Page 33 of 35




U.S. Dept. of Labor                      Verizon Wireless                   Wayne County Tax Office
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
4407 Bland Road #260                     P.O. Box 15062                     224 E. Walnut Street
Raleigh, NC 27609                        Albany, NY 12212                   Goldsboro, NC 27530



U.S. Dept. of Labor                      Vestis                             WeGravity, Inc.
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
200 Constitution Avenue NW               P.O. Box 731676                    7435 Clinton Road
Washington, DC 20210                     Dallas, TX 75373                   Stedman, NC 28391



UMO KCO, LLC                             Volunteer Energy Cooperative       Wellons Sisters, LLC
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
P.O. Box 11864                           P.O. Box 22222                     P.O. Box 1018
Charlotte, NC 28220                      Decatur, TN 37322                  Morehead City, NC 28557



UniFrist Corp.                           Volunteer Welding Glass & Supply   Wex Bank
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
P.O. Box 650481                          815 Rep. John Lewis Way S.         P.O. Box 6293
Dallas, TX 75265                         Nashville, TN 37203                Carol Stream, IL 60197



United Refrigeration                     VTMS, LLC                          Whaley Food Service
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
108 Mill Street                          11220 Elm Lane, Ste 200            P.O. Box 615
Elizabeth City, NC 27909                 Charlotte, NC 28277                Lexington, SC 29071



UpShow, Inc.                             Vyve Broadband                     Wilson Creek Realty
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
P.O. Box 70315                           P.O. Box 258843                    P.O. Box 149
Newark, NJ 07101                         Oklahoma City, OK 73125            Beaufort, NC 28516



US Small Business Administration         Ward & Smith, P.A.                 WNC 55 Management, Inc.
North Carolina District Office           Attn: Managing Agent               Attn: Managing Agent
6302 Fairview Rd, Suite 300              P.O. Box 867                       1095 Hickory Blvd. SE
Charlotte, NC 28210                      New Bern, NC 28563                 Lenoir, NC 28645



Valley Proteins, LLC                     Ware County Tax Office             Worldwide Trademarks
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
P.O. Box 3588                            P.O. Box 1825                      447 Broadway, 2nd Floor
Winchester, VA 22604                     Waycross, GA 31502                 New York, NY 10013



Verifone, Inc.                           Waste Management                   WRS Centers I, LLC
Attn: Managing Agent                     Attn: Managing Agent               Attn: Managing Agent
88 West Plumeria Drive                   P.O. Box 4648                      1414 Stuart Ingals Blvd., Ste 100
San Jose, CA 95134                       Carol Stream, IL 60197             Mt. Pleasant, SC 29464
     Case 24-04510-5-JNC      Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07   Page 34 of 35




WTMR- World Trademark Register
Attn: Managing Agent
P.O. Box 22546
Fort Lauderdale, FL 33335



Wyeth & Woodview, LLC
Attn: Managing Agent
4875 East LA Palma Ave, Ste 602
Anaheim, CA 92807
         Case 24-04510-5-JNC          Doc 1 Filed 12/31/24 Entered 12/31/24 09:10:07                 Page 35 of 35




                                          United States Bankruptcy Court
                                           Eastern District of North Carolina
 In re    The Little Mint, Inc.                                                      Case No.
                                                            Debtor(s)                Chapter    11




                                  CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The Little Mint, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




December 31, 2024                              /s/ Rebecca F. Redwine
Date                                           Rebecca F. Redwine
                                               Signature of Attorney or Litigant
                                               Counsel for The Little Mint, Inc.
                                               Hendren, Redwine & Malone, PLLC
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                                               Raleigh, NC 27612
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